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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
JOHN DOE,                                                      |
                                                               |   Case No. 6:22-CV-0214 (DNH/ATB)
                                    Plaintiff,                 |
                                                               |
         - against -                                           |
                                                               |
TRUSTEES OF HAMILTON COLLEGE,                                  |
                                                               |
                                    Defendant.                 |
---------------------------------------------------------------x

                                 COMPLAINT AND JURY DEMAND

          Plaintiff John Doe (a pseudonym),1 by his attorneys Nesenoff & Miltenberg LLP, as and

for his Complaint against Defendant Trustees of Hamilton College, respectfully alleges as

follows:

                                   THE NATURE OF THIS ACTION

          1.      Plaintiff John Doe (“John Doe”) was a sophomore undergraduate student at

    Trustees of Hamilton College (“Hamilton”) when he was erroneously found responsible for

    non-consensual sexual contact (kissing and touching outside clothes) allegedly occurring during

    the first semester of his freshman year and wrongly expelled.

          2.      For the 2020-2021 school year, John Doe and Jane Roe were both freshmen and

    were friends at Hamilton. One night in early October 2020, John Doe went to a gathering of

    Hamilton students on a dorm floor. John Doe spoke with Jane Roe, but no sexual interaction

    occurred other than a couple of consensual short pecks on the lips. Nevertheless, Jane Roe

    subsequently lied and falsely accused John Doe of touching Jane Roe’s private body parts over

    her clothing and kissing her without her consent in a dorm room and in bathroom on a dorm

1Plaintiff John Doe has filed herewith a motion to proceed by pseudonym with respect to both
John Doe and Jane Roe.
                                                        [1]
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floor and also of grabbing her and hugging her without her consent near the basketball courts

next to Babbitt Pavilion.      John Doe strenuously denied the accusations throughout the

disciplinary proceeding. Jane Roe’s accusations were investigated, and at the time of the

hearing, there were no first-hand witnesses corroborating Jane Roe’s accusations. But it did not

matter. John Doe’s university appeal aptly described the hearing before biased hearing officers

as a “lynching,” the product of an overtly biased hearing panel chair who, having an antipathy

to a male Hispanic football player, acted as if in a Star Chamber, ruling irrelevant and excluding

what was in fact highly relevant evidence contradicting Jane Roe’s story; the hearing panel

disregarded in fact the burden of proof when adopting a false narrative and disregarded all the

inconsistencies in testimony with respect to and lack of support for Jane Roe’s accusations,

being guided by a victim-centered, trauma-informed, believe the woman mentality; and based

upon the false narrative, John Doe was erroneously found responsible for non-consensual sexual

contact for the alleged conduct in a dorm room and bathroom (but not near the basketball

courts) and was given an insanely disproportionate sanction of expulsion, which is shocking to

one’s conscience. Hamilton’s expulsion was premised upon a purported lack of confidence in

John Doe’s capability of adhering to Hamilton’s community standards, which was not rationally

based upon the evidence and which reflected the destructive anti-male mindset at Hamilton.

       3.     John Doe now brings this action for Title IX sex discrimination and related state

law claims to remedy the unjustly inflicted damage to his education and his hopes and dreams

from Hamilton’s flagrantly discriminatory actions.

                                        THE PARTIES

       4.     Plaintiff is a Hispanic-American male, citizen of the United States, and a current

resident of the State of New York. During the events described herein, Plaintiff was a student on



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a full-ride scholarship at Hamilton and a member of the Hamilton football team, and he resided

on Hamilton’s campus in Clinton, New York.

        5.     Hamilton is a private, liberal arts college, originally founded in 1793, with an

undergraduate student enrollment of approximately 1,850 students (approximately 54% female

and 46% male), with an address of 198 College Hill Road, Clinton, New York 13323. Hamilton

has been receiving federal funding.

                                  JURISDICTION AND VENUE

        6.     This Court has federal question and supplemental jurisdiction pursuant to 28

U.S.C. § 1331, § 1343, and § 1367 because: (i) the federal law claim arises under a statute of the

United States; (ii) the federal law claim arises under federal civil rights law, and (iii) the state

law claims are so closely related to the federal law claim as to form the same case or controversy

under Article III of the United States Constitution.

        7.     This Court has personal jurisdiction over Hamilton on the grounds that Hamilton

is conducting business within the State of New York, is a resident of the State of New York and

whose actions that are the subject of this action took place in the Northern District of New

York.

        8.     Venue for this action properly lies in this district pursuant to 28 U.S.C. §1391

because Hamilton is considered to reside in this judicial district and a substantial part of the

events or omissions giving rise to the claim occurred in this judicial district.

         FACTUAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

A.      Title IX and the Governing Title IX Regulations.

        9.     Title IX of the Education Amendments Act of 1972 provides in relevant part that

“[n]o person in the United States shall, on the basis of sex, be excluded from participation in, be


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denied the benefits of, or be subjected to discrimination under any education program or activity

receiving Federal financial assistance.” 20 U.S.C. § 1681(a).

       10.     Title IX applies to all public and private educational institutions that receive

federal funds, including colleges and universities. Hamilton is a recipient of federal funds and is

therefore bound by Title IX and its regulations.

       11.     Title IX of the Education Amendments of 1972 applies to an entire school or

institution if any part of that school receives federal funds; hence, for example, athletic programs

are subject to Title IX of the Education Amendments of 1972 even though there is very little

direct federal funding of an activity such as school sports.

       12.     On May 6, 2020, then Secretary Betsy DeVos announced that, after a rule-

making process conducted pursuant to the Administrative Procedure Act, new Title IX

regulations would go into effect on August 14, 2020.

       13.     The Title IX regulations effective August 14, 2020 (and thus applicable in this

case) state that the university or college disciplinary process shall treat complainants and

respondents equitably, objectively evaluate the evidence, not have conflicts of interest or bias,

presume respondents are not responsible, have prompt time frames, identify the burden of proof

that is to be applied uniformly and have support services for both complainants and respondents.

34 C.F.R. 106.45(b)(1).

       14.     The Title IX regulations effective August 14, 2020 (and thus applicable in this

case), require formal written notice of allegations that contains “sufficient details known at the

time and with sufficient time to prepare a response before any initial interview” – “[s]ufficient

details include the identities of the parties involved in the incident, if known, the conduct

allegedly constituting sexual harassment, and the date and location of the alleged incident, if



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known.”       34 C.F.R. 106.45(b)(2).    That written notice “must include a statement that the

respondent is presumed not responsible for the alleged conduct” and must be amended if

additional allegations are made later in the proceeding. 34 C.F.R. 106.45(b)(2).

       15.       The Title IX regulations effective August 14, 2020 (and thus applicable in this

case), require that the university or college conduct investigations that:

       (i)       “Ensure that the burden of proof and the burden of gathering evidence sufficient

                 to reach a determination regarding responsibility rest on the recipient and not on

                 the parties,” 34 C.F.R. 106.45(b)(5)(i);

       (ii)      “Provide an equal opportunity for the parties to present witnesses, including fact

                 and expert witnesses, and other inculpatory and exculpatory evidence,” 34 C.F.R.

                 106.45(b)(5)(i);

       (iii)     “Not restrict the ability of either party to discuss the allegations under

                 investigation or to gather and present relevant evidence,” 34 C.F.R.

                 106.45(b)(5)(iii);

       (iv)      “Provide the parties with the same opportunities to have others present during any

                 grievance proceeding, including the opportunity to be accompanied to any related

                 meeting or proceeding by the advisor of their choice, who may be, but is not

                 required to be, an attorney,” 34 C.F.R. 106.45(b)(5)(iv);

       (v)       “Provide, to a party whose participation is invited or expected, written notice of

                 the date, time, location, participants, and purpose of all hearings, investigative

                 interviews, or other meetings, with sufficient time for the party to prepare to

                 participate,” 34 C.F.R. 106.45(b)(5)(v);

       (vi)      “Provide both parties an equal opportunity to inspect and review any evidence



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               obtained as part of the investigation that is directly related to the allegations raised

               in a formal complaint, including the evidence upon which the recipient [university

               or college] does not intend to rely in reaching a determination regarding

               responsibility and inculpatory or exculpatory evidence whether obtained from a

               party or other source” and “[p]rior to completion of the investigative report, the

               recipient [university or college] must send to each party and the party’s advisor, if

               any, the evidence subject to inspection and review in an electronic format or a

               hard copy, and the parties must have at least 10 days to submit a written response,

               which the investigator will consider prior to completion of the investigative

               report,” 34 C.F.R. 106.45(b)(5)(vi); and

       (vii)   “[c]reate an investigative report that fairly summarizes relevant evidence and, at

               least 10 days prior to a hearing . . . send to each party and the party’s advisor, if

               any, the investigative report in an electronic format or a hard copy, for their

               review and written response,” 34 C.F.R. 106.45(b)(5)(vii).

B.     The Relationship of John Doe and Jane Roe.

       16.     John Doe and Jane Roe met via social media in March 2020 before they would

commence college at Hamilton in late August 2020. John Doe and Jane Roe were both part of

the incoming freshman class at Hamilton scheduled to start school in late August 2020, and the

social media connection was in that context. From March 2020 to August 2020, John Doe and

Jane Roe communicated with some regularity on social media. On one occasion, on April 3,

2020, Jane Roe sent a picture of herself wearing only a bra and panties to John Doe.

       17.     After school at Hamilton started for the 2020-2021 school year, John Doe and

Jane Roe on campus had fewer communications. During the fall of 2020, John Doe lived in



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Major Hall, and Jane Roe lived in Wallace Johnson Hall. John Doe and Jane Roe did run into

each other on campus with their respective friends in outdoor spaces which was required because

of Covid restrictions.

C.     The Night of Friday, October 2, 2020.

       18.     On October 2, 2020, Jane Roe had plans to go to North Hall at 9:00 pm to meet

friends who lived there and then to Dunham Hall to meet up with other friends who lived there

and then on to the basketball courts near Babbitt Pavilion. Independently, on October 2, 2020,

John Doe had plans to go to North Hall to visit friends.

       19.     At some point before 8:00 pm that evening of October 2, John Doe messaged Jane

Roe asking her what her plans were for the evening. Jane Roe responded that she was going to

hang with her teammates and would let him know if she (Jane Roe) were around. At around

8:00 pm, Jane Roe went to her neighbor’s room and had two drinks there of mixture of vodka

and an energy drink (“Monster”). When Jane Roe left her dorm (Wallace Johnson) to head to

North Hall, she carried with her a water bottle filled with an inch of vodka and Monster energy

drink. Meanwhile, before leaving his dorm room, John Doe took one shot of tequila, did not feel

any effects from it, and used a Gatorade sports bottle to mix another shot of tequila with orange

juice and raspberry juice, which he took with him to North Hall. John Doe, on his way to North

Hall, messaged Leah Basel to ask her what her plans were for the night, and Leah Basel

responded that she was hanging out on her floor with friends playing sex bingo.

       20.     When Jane Roe arrived at North Hall, one of her friends let her in, and Jane Roe

proceeded to the fourth floor and Meghan Lane’s room, Room 401. Jane Roe noticed that North

Hall residents in the hallway were setting up to play sex bingo, a campus-wide event organized

by Rachel Brimmer, the Resident Advisor for the fourth floor of North Hall. In Room 401, Jane



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Roe hung out with Meghan Lane, Casey Fiore and Abby Smith, who were drinking while in

North Hall. Meghan Lane and Abby Smith went in and out of Room 401 while Jane Roe was

there. Meanwhile, when John Doe arrived at North Hall, he went to the first floor and hung out

with friends for about ten minutes and then went up to the fourth floor in North Hall. On the

fourth floor, John Doe had brief exchange with Leah Basel and Maeve Harrington. Many of the

girls said that in their opinion, John Doe was not intoxicated.

       21.     At around 9:20 pm, Casey Fiore walked out of Room 401 and Jane Roe stood in

the open doorway. John Doe, who was sitting in the hallway, recognized Jane Roe, who waived

at John Doe. John Doe walked over to and entered Room 401.

       22.     At this point, the unsworn testimony of John Doe and Jane Doe dramatically

diverged. According to John Doe, there were no physical interactions between John Doe and

Jane Roe in Room 401. According to Jane Roe, the first time that John Doe was in Room 401,

he put his hands on her waist and touched her shoulder and her hair, which Jane Roe said made

her feel uncomfortable and to tell John Doe she was intoxicated, and John Doe left after being

asked to leave the room by Meghan Lane due to Covid concerns. According to Jane Roe,

Meghan Lane then left her room and did so leaving it unlocked with Jane Roe still in it, Jane Roe

tried on a shirt of Meghan Lane’s, at which time Jane Roe was only wearing a bra when John

Doe walked back into the room. According to Jane Roe, John Doe proceeded to hug her from

behind, cupped her breasts over her clothes, slide his hands down to squeeze her buttocks and

bite her own an ear, at which time Jane Roe turned around but before Jane Roe could express

displeasure, John Doe kissed her without Jane Roe’s consent. According to Jane Roe, after John

Doe left the room again, Jane Roe asked Casey Fiore if she saw John Doe kiss her, but Casey

Fiore did not meaningfully respond. John Doe steadfastly denied all the accusations involving



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physical interactions with Jane Roe. Meaghan Lane testified that Jane Roe tried on any of shirts

that night, and Casey Fiore, who was in the room at the time, testified that this never happened.

       23.     According to Jane Roe, she left Room 401 and went to the bathroom on the floor

and entered a toilet stall, John Doe followed her in the bathroom saying he knew she was in there

and when Jane Roe left the toilet stall, she asked John Doe what he was doing there. According

to Jane Roe, when she stood in front of sink, John Doe walked up behind her and grabbed her

buttocks over her clothes and then grabbed her by the hips and pushed her against the hallway,

pinning her with his pelvis, rubbing his hand on her vagina area over her clothes and trying to

unbutton her jeans. According to Jane Roe, no one was in the bathroom to witness to these

events, although Abby Smith started to enter the bathroom but pulled back, after which Abby

Smith saw Jane Roe and John Doe separately leave the bathroom. According to John Doe, Jane

Roe’s female seduction fantasy of a story did not happen and was a false accusation. He had

independently gone to the bathroom, used it, and then he and Jane Doe engaged in kissing until

Abby Smith attempted to enter the bathroom.

       24.       Jane Roe made a show that night of being upset and talked with her friends

about being inappropriately touched and that she just could not get away from John Doe. Abby

Smith and Meghan Lane talked to the Resident Advisor Rachel Brimmer sometime between

10:00 pm and 10:30 pm about Jane Roe being distraught and having been unwillingly touched by

someone. Rachel Brimmer had been running the sex bingo event. Jane Roe then went to Rachel

Brimmer’s room and told Rachael Brimmer that John Doe had inappropriately touched her in

Meghan Lane’s room and had kissed her in the bathroom without her consent and that she (Jane

Roe) was intoxicated. According to Rachel Brimmer, Abby Smith and Meghan Lane filled in




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the gaps when Jane Roe could not remember, even though Abby Smith and Meghan Lane were

not witnesses to anything.

       25.     Both John Doe and Jane Roe went to the basketball courts next to Babbitt

Pavilion, with John Doe arriving first. Prior to Jane Doe arriving at the basketball courts, John

Doe sent two messages to Jane Roe inviting her to the rugby fields near the basketball courts.

When John Doe approached Jane Roe’s friends at the basketball courts, they would not speak to

him. John Doe inferred that they and Jane Roe were upset with him. John Doe then sent a series

of text messages to Jane Roe, saying he was truly sorry, blaming it on being intoxicated but

without saying what he was sorry for. John Roe in fact was not intoxicated and did not know

what had caused the apparent rupture with Jane Roe, but he was anxious to preserve a friendship.

       26.     Jane Roe, after being at the basketball courts ten to fifteen minutes, went over to

John Doe and talked with him. According to Jane Roe, she told John Doe to stop texting her, but

John Doe apologized repeatedly, teased her about snot on her face and then gave her a hug and

put his hands on her face, after which Jane Roe said she wanted to go back to her friends.

According to John Doe, Jane Roe came over to him at the basketball courts and he apologized,

but he did not put his hands on Jane Roe’s face.

       27.     The next day, October 3, 2020, John Doe twice texted Jane Roe that they needed

to talk and he apologized if he made her feel uncomfortable in any way. Jane Roe texted back

that she would rather not speak with John Doe.

D.     Jane Roe’s November 2020 Complaint and the
       November 2020-June 2021 Hamilton Investigation.

       28.     Over one month later, on or about November 11, 2020, Jane Doe made a Formal

Complaint, alleging that on October 2, 2020: (i) in Room 401 of North Hall, John Doe touched

Jane Roe’s private parts “against her will when he grabbed Jane Roe’s buttocks and/or vagina

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(through clothing) and that John Doe kissed Jane Roe, “hugged her and/or bit her ear without her

affirmative consent”; (ii) in the fourth-floor bathroom of North Hall, John Doe touched Jane

Roe’s private parts “against her will when he grabbed Jane Roe’s buttocks, breasts and/or vagina

(through clothing) and John Doe kissed Jane Roe “without her affirmative consent”; and (iii)

near the basketball courts next to Babbitt Pavilion, John Doe “engaged in unwelcome conduct of

a sexual nature when he grabbed her wrists, pulled here away from the group of gathered

students, repeatedly hugger her, and refused to let her go when she asked him to do so.”

Hamilton treated the allegations of Jane Roe’s Formal Complaint concerning what happened in

North Hall Room 401 and fourth floor bathroom as constituting Title IX Non-Consensual Sexual

Contact and Non-Title IX Non-Consensual Sexual Contact and the allegations of Jane Roe’s

Formal Complaint concerning what happened near the basketball courts next to Babbitt Pavilion

as constituting Non-Title IX Non-Consensual Sexual Contact.

       29.    On November 11, 2020, Hamilton sent a Notice of Formal Complaint to John

Doe. The Notice of Formal Complaint informed John Doe that Jane Roe had brought a Formal

Complaint with the following allegations: (i) Title IX Non-Consensual Sexual Contact in North

Hall Room 401 (touched Jane Roe’s body parts without her consent when grabbed her buttocks

through clothing); (ii) Non-Title IX Non-Consensual Sexual Contact in North Hall Room 401

(kissed Jane Roe, hugged her and bit her ear without consent); (iii) Title IX Non-Consensual

Sexual Contact in North Hall 4th floor bathroom (touched her private parts without consent when

“grabbed her buttocks, breasts, and/or vagina” through clothing and pressed his erect penis

against her buttocks through clothing); (iv) Non-Title IX Non-Consensual Sexual Contact in

North Hall 4th floor bathroom (kissed Jane Roe without consent); (v) Non-Title IX Non-

Consensual Sexual Contact near basketball courts next to Babbitt Pavilion (unwelcome conduct



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of a sexual nature hen gabbed her wrists, pulled away from group of students and repeatedly

hugged her). Jane Roe’s written complaint was attached to the Notice of Formal Complaint.

John Doe was also informed that the investigation would be conducted by an outside

investigator, an attorney with the Cozen O’Connor law firm.

       30.     Also on November 11, 2020, Hamilton assigned an Advisor to Jane Roe. On

November 16, 2020, Hamilton’s investigator reached out to Jane Roe. On November 18, 2020,

Hamilton’s investigator interviewed Jane Roe; and on November 23, 2020, Jane Roe provided

what Hamilton called evidence.

       31.     On November 25, 2020, Hamilton’s investigator reached out to John Doe before

Hamilton assigned an Advisor to John Doe, which did not occur until November 29, 2020. On

December 7, 2021, John Doe provided what Hamilton called evidence, and on December 21,

2020, John Doe provided audio recordings. But John Doe was not interviewed until December

21, 2020.

       32.     From December 1, 2020, to January 23, 2021, Hamilton’s investigator

interviewed fourteen other students, eleven of whom were females, including Meghan Lane,

Abby Smith, Rachel Brimmer, Casey Fiore, Leah Basel, Chole Chiota, Oliva Chiota, and Maeve

Harrington. The accounts from the interviews of these eleven females did not match Jane Roe’s

story and did not align with each other, there were substantial changes in their versions and many

deletions of what they had stated initially to the investigator.

       33.     On March 19, 2021, Hamilton’s investigator made available an initial

investigation report to John Doe and Jane Roe; John Doe and Jane Roe were not allowed to

retain copies. On March 30, 2021, John Doe and Jane Roe submitted their respective responses.

In April 2021, Hamilton’s investigator met with John Doe about his response, which included



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materials that Hamilton’s investigator “concluded” were irrelevant but which were in fact highly

relevant. On May 25, 2021, Hamilton’s investigator made available an updated investigation

report to John Doe and Jane Roe; again, John Doe and Jane Roe were not allowed to retain

copies. On May 28, 2021, Jane Roe submitted a response to the updated investigation report;

John Doe’s response, however, was said to be not available.

       34.     The investigation report was a contrived attempt to give credibility to Jane Roe’s

story and accusations of non-consensual sexual touching and to cast doubt on John Doe’s

account and denials of accusations of non-consensual sexual touching. This was not the result of

“investigation” into the facts, but of a pre-determined narrative to believe the female’s

accusations.

       35.     On June 10, 2021, Notice of Hearing was sent to the parties. On June 22, 2021,

the final investigation report was delivered to Hamilton’s Title IX Coordinator.

E.     The Sham Hearing: Hearing Panel Chair’s Overtly Biased Prosecutorial Behavior.

       36.     For the Hearing, on June 20, 2021, Catherine Berryman initially appointed Ms.

Bryn Lovejoy-Grinnell as the Chair of the Panel. Ms. Lovejoy-Grinnell has been an advocate for

victims of sexual abuse for the majority of her life. Despite this clear appearance of bias, Ms.

Berryman denied John Doe’s request to have her recused, and it was only after a week of written

submissions that Ms. Berryman finally relented, appointing instead Julia E. Green, a self-

identified member of the LGBT community, in Ms. Lovejoy-Grinnell’s place. Julia E. Green

was known as being hostile to male heterosexual athletes such as John Doe. This appointment set

up the Hearing to be a sham hearing, in effect, a lynching designed to make an example of John

Doe following Hamilton’s revisions of its procedures to make it appear that Hamilton was

complying with the Title IX regulations that went into effect on August 14, 2020 and described



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in paragraphs 13-15 above. The form of a hearing was provided, but a real hearing was not

Additionally, if John Doe were expelled, it would enable Hamilton to rid themselves of a

scholarship and, in the alternative, accept a paying student.

       37.     Hearing Panel Chair Julia E. Green’s bias was manifested in numerous ways

during the sham hearing.

       38.     Hearing Panel Chair Julia E. Green conducted herself as if she was a prosecutor

against John Doe. Whenever one of Jane Roe’s thirteen witnesses would testify, she would give

them open-ended questions to answer and correct them if they made a mistake. At no time did

she confront them with the inconsistencies which were contained in their various statements to

the investigator.

       39.     During John Doe’s summation, after only ten minutes, Hearing Panel Chair Julia

E. Green abruptly directed John Doe to stop and sit down, despite the fact that he had not

reached many critical points in the summation.          Hearing Panel Chair Green justified the

interruption of John Doe’s summation by a ten-minute time limit, which she had never advised

either John Doe or his advisor of prior to the commencement of John Doe’s summation.

       40.     Hearing Panel Chair Green allowed improper reputation questions to be asked by

Jane Roe’s advisor. Although John Doe had only been attending Hamilton for one month at the

time of the alleged incident, Hearing Panel Chair Green permitted Jane Roe’s advisor to ask the

witnesses what John Doe’s reputation in the community for truthfulness in order to challenge

John Doe’s character.      When Jane Roe’s advisor asked about John Roe’s reputation for

truthfulness in the community, the witness blurted out that John Doe’s reputation was that he had

assaulted others, which was false and which was highly prejudicial. The first time the answer

was given, Hearing Panel Chair Green did not take immediate action, but rather only after a 30



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minute break, did Hearing Panel Chair Green technically strike the answer and did so again when

the same answer. But despite the answers being technically stricken, they could not be unheard,

and Hearing Panel Chair Green did nothing to prevent these false accusations from being made

part of the proceeding. Hearing Panel Chair Green knew that the responses given were likely,

given what was contained in the statements provided to the investigator, but she allowed the

question about reputation to be asked anyway.

       41.     Over John Doe’s strenuous objection, Hearing Panel Chair Green ruled that two

persons could testify despite neither having been identified prior to the commencement of the

hearing. In fact, one of those witnesses did in fact testify. Hearing Panel Chair Green was fully

aware, given their interviews with the Hamilton’s investigator, that the intent of the two persons

was to allege that John Doe had assaulted them and others.

       42.   Over John Doe’s strenuous objection, Hearing Panel Chair Green permitted another

witness who was not even interviewed by the investigator as part of the investigation to testify.

Notably, that witness, Ms. Katie Rao, was permitted to testify on the final day of the hearing. In

fact, when John Doe’s advisor attempted to question Katie Rao why she had only come forward

two days before the conclusion of the hearing when she knew about it for approximately one

year, John Doe’s advisor was directed by Hearing Panel Chair Green to stop asking these type of

questions and further instructed, if he asked anything further along those lines, she would end his

cross-examination of the witness despite his request to be heard. In this connection, the alleged

incident occurred on October 2, 2020, the final investigative report was issued June 22, 2021,

and the request for additional witnesses was made by Jane Roe on July 23, 2021, merely four

days before the commencement of the hearing. Moreover, Jane Roe’s request to admit the




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testimony of Katie Rao was made merely two days before the completion of the hearing and the

hearing panel was permitted to hear from her on the final day of testimony.

       43.     Despite the number of witnesses who had been extensively questioned concerning

the level of intoxication of John Doe, Jane Roe and her witnesses, Hearing Panel Chair Green

allowed the new witnesses to testify what they observed concerning John Doe’s level of

intoxication. It was prejudicial: the Hearing Panel would credit Katie Rao’s testimony.

F.     The Sham Hearing: Exclusion of Highly Relevant Evidence.

       44.     Jane Roe’s witnesses testified extensively about the trauma she supposedly

suffered as a result of the alleged incident on October 2, 2020, Hearing Panel Chair Greene

denied John Doe’s numerous requests to introduce two tic-toc videos, one taken the very month

of the incident showing Jane Roe having a great time, dancing and drinking with her friends.

Another video, taken some six (6) months after the incident in question, depicted Jane Roe

completely intoxicated, dancing and twerking with her friends. Although these videos were

completely probative to refute Jane Roe and her witnesses’ testimony concerning the alleged

impact Jane Roe supposedly suffered, as a result of the incident of October 2, 2020, Hearing

Panel Chair Greene refused to let either of them into evidence. When John Doe’s advisor asked

to make a record as to the relevancy of these questions, Hearing Panel Chair Greene simply

denied the request without any explanation.

       45.     Prior to even meeting Jane Roe, having only talked to her over social media, Jane

Roe had sent John Doe a very revealing photograph of herself wearing only a bra and panties.

Once again, Hearing Panel Chair Greene the Hearing Officer refused to allow this photograph

into evidence even though it was highly relevant to show Jane Roe’s flirtiness and contradict the

alleged incident involving Jane Roe on October 2, 2020.



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G.     The Sham Hearing: The Record Evidence
       Showed Jane Roe’s Accusations Were False.

       46.     The facts concerning these charges were so outlandish that it was obvious they

were not true. Starting at the time that John Doe was in Meghan Leone’s room with Jane Roe

(some of the acts for which John Doe was found responsible for), Jane Roe’s witness, Abby

Smith, one of Jane Roe’s closer friends, testified that as she (Abby Smith) walked in the room,

she observed me “being very close to [Jane Roe], grabbing her at the waist.” According to Abby

Smith, Jane Roe never pulled away, never asked John Doe to stop, nor did she ask for help. Abby

testified that “[Jane Roe] was super mature and can certainly handle herself.” This was an all-

girls floor and all of Jane Roe’s friends were present on the floor.

       47.     Jane Roe alleged John Doe forced a kiss on her, put his arms around her against

her will and bit her ear. However, one of Jane Roe’s best friends, Casey Fiore, was in the room

the entire time and testified that she thought Jane Roe was fine with everything because,

according to her, “if something was wrong, she would have noticed.”

       48.     At the end of the interaction in the room, Casey posted a snapchat photograph

which depicted John Doe with both arms around Jane Roe and Jane Roe smiling ear-to-ear. Jane

Roe testified, in an effort to explain away the photograph, that John Doe had snuck up behind

her, put his arms around her before she had the time to react, and the Hearing Panel would have

the temerity to find that “[Jane Roe] tried to retreat to where Casey was set up to take a selfie on

the other side of the room.” However, Casey herself testified that before she took the photograph,

she waited for John Doe and Jane Roe to get in the picture and only then took the photograph.

None of this was mentioned in the Hearing Panel’s Decision, which merely parroted what Jane

Roe had testified to and disregarded the contradictory evidence.




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       49. Casey also told the investigator and testified at the hearing that “[Jane Roe] had a

strong personality and believed that Jane Roe would have asked for help if she needed it.” Casey

even described Jane Roe’s and John Doe’s relationship as flirtatious. Casey Fiore also told the

investigator and testified at the hearing that “if she was ever in a situation where a girl would be

feeling uncomfortable or touched in a way that wasn’t welcome,” she would know. Finally,

Casey also told the investigator and testified at the hearing that what happened in the room didn’t

faze her. There is no way under these undisputed facts that any fair-minded, unbiased panel

could have found John Doe responsible for what happened in Meghan’s dorm room.

H.     The Hearing Report.

       50.     The Hearing Panel report is a false document that reflected a discriminatory

believe the woman mentality and that in fact disregarded the preponderance of the evidence

evidentiary burden on the school and described the facts according to Jane Roe’s narrative

despite that narrative being contradicted by Jane Roe’s own witnesses and at times was not even

supported by Jane Roe’s testimony.

       51.     The Hearing Panel report claims that Jane Roe was trying on one of Meghan’s

shirts, when John Doe walked in. While Jane Roe did in fact allege this (before the picture of her

smiling was posted), Meghan testified Jane Roe never tried on her shirt and Casey Fiore, who

was in the room at the time, testified that this never happened. The Hearing Panel, without any

supporting record evidence, found that Jane Roe told John Doe to stop and “get off”, sobbing and

trying to escape John Doe’s grasp. This was entirely fictional. Jane Roe herself testified that she

never told John Doe to stop and Casey Fiore, who was in the room the entire time, never saw

anything, never heard any requests by Lindsay to stop and certainly, never saw Lindsay sobbing.

In fact, Casey Fiore testified that at no time did Jane Roe look uncomfortable in any way. And



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clearly, the panel did not know how to explain away the snapchat photograph that showed John

Doe with his arms around Jane Roe and Jane Roe smiling ear to ear, so the Hearing Panel simply

failed to address it.

        52.     Additionally, the Hearing Panel focused on its finding that the conduct occurred

forcibly; the Hearing Panel simply ignored the testimony of Maeve Harrington, who observed

John Doe and Jane Roe in the bathroom talking face to face and the testimony of Gabrielle Pia,

who saw John Doe alone in the bathroom. Indeed, contrary to the evidence adduced at the

hearing and contrary to Jane Roe’s own testimony, the Hearing Panel found that John Doe had

“grabbed her skin.” Jane Roe, however, told the investigator and testified at the hearing that, in

fact, John Doe never touched her skin.

        53.     The Hearing Panel disregarded the testimony of Megan Leone, when it found that

Megan Leone locked John Doe out of the room, and John Doe returned, but fails to mention that

at the hearing, Megan Leone testified at the hearing that she didn’t remember if this had in fact

happened. The panel found that Lindsay felt disheveled mentally, so she went to the bathroom to

compose herself. However, Casey Fiore testified that she believed nothing was wrong because

“[John Doe] and [Jane Roe] left the room together.” Of course, none of this was made part of the

Hearing Panel’s decision.

        54.     The Hearing Panel treated Jane Roe as credible, when, in fact, every single one of

Jane Roe’s witnesses contradicted her. One of Jane Roe’s friends waiting outside of North Hall

testified that it appeared that none of Jane Roe’s friends, Abby, Casey or Meghan had any idea

what had happened when they exited North. Conveniently, the Hearing Panel completely ignored

Jane Roe’s testimony that after leaving the bathroom, she ran into Casey’s room, having a panic

attack, locked the door and only let someone in after she heard knocking on the door. To the



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contrary, Abby Smith testified that they walked into the room together. Incredibly, both Jane Roe

and Abby, after testifying that the decision to go to the RA was immediate, omitted a major part

of the sequence of events where, prior to going to the RA, they both went outside of the building

to go to the basketball courts, and spoke to their friends, before returning to talk to the RA.

       55.     The Hearing Panel credited Jane Roe when, in fact, every single one of Jane

Roe’s witnesses contradicted her.

        56.    Additionally, Jane Roe gave conflicting versions of what had occurred which the

Hearing Panel chose to ignore. Jane Roe told Abby immediately after she left the bathroom that

John Doe “was touching her and forcing a kiss on her.” The first thing Jane Roe told the girls

when she left the building was “I think I got sexually harassed.” Jane Roe told Kaitlin Reed and

the Dunham girls that “she had been cornered in a bathroom stall and was really restricted and

felt extremely trapped and uncomfortable.” Jane Roe told Julia Fornasar that she was going to

the bathroom and John Doe “came in and forced myself onto her when trying to go to the

bathroom.” After being asked by John Doe’s advisor whether this in the stall, Julia said “yes, in

the stall.” Olivia Chiota testified that Jane Roe told her she “thinks she got assaulted,” and told

the investigator “I think it was on the ground.” Olivia further told the investigator, “I think he

entered her with his hands.” When the Hearing Panel asserts in its decision that Jane Roe’s

testimony was corroborated by her witnesses, it is no wonder they had no choice but to neglect

the multiple, inconsistent versions of what Jane Roe had said had occurred.

       57.     The Hearing Panel relied heavily on the testimony of Rachel Brimmer, the RA, in

arriving at their decision. Indeed, John Doe argued in his summation that she was the most

important witness, as she had no motive to lie. However, the Hearing Panel conveniently omitted

the fact that Abby and Meghan initially told Ms. Brimmer that they had a friend “who thinks she



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had been sexually harassed.” The Hearing Panel also neglected to put in its report that both Abby

and Jane Roe were not truthful with Ms. Brimmer when Abby told her she walked into the

bathroom and saw John Doe choking and pinning Jane Roe against the bathroom wall, and Jane

Roe confirmed that is what happened. This statement turned out to be an outright lie. At the

hearing, they both denied this significant event ever occurred. Incredibly, after all of this had

allegedly occurred to her, Jane Roe wanted to go out and “have a normal night.” The panel

changed the testimony when it found at the basketball courts, after Jane Roe walked up to John

Doe, that Jane Roe “stood like a limp noodle,” when I gave her a hug. In fact, Jane Roe’s friend,

Chloe Chiota, testified that we “embraced in a full mutual hug.” The Hearing Panel neglected to

address Olivia Chiota’s testimony that when she approached John Doe and Jane Roe talking,

Jane Roe told her that she was fine. The Hearing Panel also ignored Olivia Chiota’s testimony

that when John Doe and Jane Doe were talking, she heard Jane Roe laugh. The Hearing Panel,

contrary to the testimony, found that John Doe’s claim that he was being attacked by other

students at the basketball courts was not substantiated in the record. One witness specifically

testified that before Jane Roe arrived at the basketball courts, John Doe’s fellow football team

members had learned of the accusations and were talking about it.

I.     The Wildly Disproportionate Sanction.

       58.    Even assuming, arguendo, that what Jane Roe claims happened did in fact happen

(which it didn’t), the sanction imposed of expulsion given the severity of the violation is

completely disproportionate to that imposed on fellow students. This is especially true where a

scholarship is being taken away and where the student is a Hispanic American.

        59.   John Doe’s roommate, who was accused of rape and only months before John

Doe’s hearing found responsible for slapping a student on her unclothed buttocks, was given


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merely probation. In John Doe’s case, no claim of rape was alleged, no penetration of any type

was alleged, nor, in fact, was any touching of Jane Roe’s skin alleged.

        60.     The Hearing Panel’s purported reason set forth for imposing the drastic remedy of

expulsion is, in and of itself, implausible. The Hearing Panel report states that “[John Doe] did

not reflect any understanding of the seriousness of his misconduct.” That was because John Doe

never did the acts the Hearing Panel found him responsible for and the panel failed to note that

John Doe offered on numerous occasions to take a lie detector test and that John Doe asked if

Jane Roe would be willing to do the same, which Jane Roe refused to answer multiple times.

        61.     John Doe had no other disciplinary violations while attending Hamilton. To be

expelled solely based on the word of one witness, whose testimony was directly contradicted by

other witnesses, is more than a travesty of justice.

J.      Appeal and Its Denial.

        62.     On October 25, 2021, John Doe timely appealed in Hamilton’s Title IX process,

citing the grounds discussed above: the sham hearing from the Hearing Panel Chair’s bias, the

exclusion of highly relevant evidence, the falsity of the accusations obvious from the Hearing

evidence, the errors of the Hearing Panel decision, and the wildly disproportionate sanction. The

appeal was denied.

                                    FIRST CAUSE OF ACTION:
                    (Violation of Title IX of the Education Amendments of 1972)

        63.     John Doe repeats and re-alleges each and every allegation hereinabove as if fully

set forth herein.

A.      Title IX and Its Application.

        64.     20 U.S.C. ' 1681(a), provides in relevant part that:




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       No person in the United States shall, on the basis of sex, be excluded from
       participation in, be denied the benefits of, or be subjected to discrimination under
       any education program or activity receiving Federal financial assistance.

      65.      Title IX of the Education Amendments of 1972 applies to an entire school or

institution if any part of that school receives federal funds; hence, for example, athletic programs

are subject to Title IX of the Education Amendments of 1972 even though there is very little

direct federal funding of an activity such as school sports.

      66.      Hamilton has received and continues to receive federal funding and accordingly

has maintained a Title IX office as part of the school.

      67.      Title IX may be violated by a school’s failure to prevent or remedy sexual

harassment or sexual assault, Davis v. Monroe Bd. of Education, 526 U.S. 629 (1999), or by the

imposition of university discipline where gender is a motivating factor in the decision to

discipline, Yusuf v. Vassar College, 35 F.3d 709, 715 (2d Cir. 1994). In either case, the statute is

enforceable through an implied private right of action.

      68.      Title IX’s non-discrimination provision applies to the recipient Hamilton

regardless of whether the school purports to apply Title IX procedures or other procedures in a

disciplinary proceeding.    Students discriminated against on the basis of sex by a school’s

disciplinary measures applied to the student have a claim under Title IX.

B.     Title IX Challenges To University Disciplinary Proceedings.

       69.     Challenges to university disciplinary proceedings for sex discrimination in the

Second Circuit generally fall in two categories: (1) “erroneous outcome” cases, in which the

claim is that there is substantial reason to doubt that the plaintiff was guilty of the offense and

gender bias was a motivating factor behind the erroneous findings; and (2) “selective

enforcement/undue severity” cases, in which the claim asserts that, regardless of the student’s



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guilt or innocence, the severity of the penalty and/or decision to initiate the proceeding was

affected by the student’s gender. Yusuf v. Vassar College, 35 F.3d 709, 715 (2d Cir. 1994).

       70.      An “erroneous outcome” occurred in this case because John Doe was wrongly

found responsible for non-consensual sexual behavior and the totality of the circumstances

establish gender bias was a motivating factor. “Selective enforcement/undue severity” occurred

in this case because John Doe was expelled in a case that did not remotely warrant expulsion.

       71.      In Menaker v. Hofstra, 935 F.3d 20, 34 (2d Cir. 2019), the Second Circuit

identified “irregularities” that pointed to gender bias:

       [W]e need not define precisely what sort of irregularities meet the standard of
       “clearly irregular investigative or adjudicative process.” But we note that Doe
       v. Columbia [, 831 F.3d 46, 57 (2d Cir. 2016),] offers some guidance on this
       issue. For instance, “[w]hen the evidence substantially favors one party's version
       of a disputed matter, but an evaluator forms a conclusion in favor of the other side
       (without an apparent reason based in the evidence), it is plausible to infer
       (although by no means necessarily correct) that the evaluator has been influenced
       by bias.”

       72.      The Hearing Panel made a finding that John Doe was responsible for non-

consensual sexual contact when that finding required an uncritical acceptance of Jane Roe’s

account, a disregarding of Jane Roe’s own witnesses and the assertion of facts nowhere in the

record. There was a discriminatory “believe the woman” bias evidenced in the Hearing Panel

decision.    Further, the irregularities of the overt bias of the Hearing Panel Chair and the

exclusion of highly relevant video and photographic evidence acted to protect and promote the

complainant Jane Roe’s false accusations; and the major discrepancies between what the Hearing

Panel report stated and what the record evidence actually showed reflected the effects of gender

biased decision-making.

       73.      The totality of the circumstances establish that Hamilton discriminated unlawfully

under Title IX in reaching the “erroneous outcome.” Hamilton credited false accusations of non-

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consensual sexual misconduct, presumed that those allegations to be true rather than properly

applying the preponderance of the evidence standard and required no reasoned consideration of

evidence as required by a burden of proof.

      74.      In Doe v. Univ. of Arkansas - Fayetteville, 974 F.3d at 864-866, the Eighth Circuit

upheld the Complaint because the disciplinary decision was against the substantial weight of

evidence, the sanction did not match the alleged violation, and the university faced external

pressure to aggressively pursue complaints against males. In support of the statement that

“External pressure on a university to demonstrate that it acted vigorously in response to

complaints by female students may support an inference that a university is biased based on sex,

although not necessarily in a particular case,” the Eighth Circuit cited a list of cases: Doe v.

Baum, 903 F.3d 575, 585-86 (6th Cir. 2018), Doe v. Miami, 882 F.3d 579, 592-93 (6th Cir.

2018), Doe v. Columbia, 831 F.3d 46, 57 (2d Cir. 2016), Yusuf v. Vassar College, 35 F.3d 709

715 (2d Cir. 1994), and Doe v. Purdue, 928 F.3d 652, 668-669 (7th Cir. 2019).

       75.     The 2011 Dear Colleague Letter “provides a backdrop that, when combined with

other circumstantial evidence of bias in [a] specific proceeding, gives rise to a plausible claim.”

Doe v. Purdue, 928 F.3d at 669, quoting Doe v. Baum, 903 F.3d 575, 586 (6th Cir. 2018).

       76.     As noted above, the primary focus of the 2011 Dear Colleague Letter was to

protect women from sexual misconduct cases. As also noted above, the 2011 Dear Colleague

Letter effectively required, through the threat of cutting off federal funding, colleges and

universities, including Hamilton, to adopt disciplinary procedures for sexual misconduct

allegations that conformed to the 2011 Dear Colleague Letter. Notwithstanding the fact that the

2011 Dear Colleague Letter was rescinded in 2017, the 2011 Dear Colleague Letter still has great

relevance here because Hamilton continued to apply the procedures of the old regulatory regime



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in this case and not in actual practice the new Title IX regime reflected in the Title IX regulations

that went into effect starting August 14, 2020.

         77.   Hamilton has created a victim-centered process in which an accused male student

is prosecuted under a presumption of guilt, improperly placing the burden of proof on the male

respondent in many cases. This one-sided process has deprived John Doe, as a male student, of

the benefits of his education at Hamilton which has exhibited a distinctly consistent pattern of

decision-making against a male party and in favor of a female party and evaluates evidence

according to gender biased assumptions to reach results finding males “responsible” to achieve

“justice” according to “gender identity politics.”

         78.   Hamilton adopted policies and procedures favoring students who file complaints

of sexual misconduct and denying fundamental protections to accused students; Hamilton trains

its officials to assume complaints of sexual misconduct are valid; Hamilton provides support

services for complainants; Hamilton is aware that almost all persons who file complaints of

sexual misconduct are female and almost all of the accused students are males; trauma-informed

techniques based on pseudoscience allow authority figures to encourage alleged victims to create

exaggerated or false memories; investigators are taught that an alleged victim’s inability to recall

crucial events and changing stories should not raise doubts about the veracity of an allegation; the

phrase “believe all women” means that when a female accuses a male of sexual misconduct, she

is a “survivor” and her accusations are presumptively true. Cases recognize allegations of

trauma-investigation techniques give rise to an inference of gender bias. Norris v. Univ. of

Colorado, Boulder, 362 F.Supp.3d 1001, 1013 (D. Colo. 2019); Doe v. Syracuse, 2019 WL

2021026 (N.D.N.Y. May 8, 2019); Doe v. Syracuse, 2020 WL 2513691 (N.D.N.Y. May 15,

2020).



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       79.        “There is nothing implausible or unreasonable about the Complaint’s suggested

inference that the panel adopted a biased stance in favor of the accusing female and against the

defending male varsity athlete in order to avoid further fanning the criticisms that [the school]

turned a blind eye to such assaults.” Doe v. Purdue, 928 F.3d at 668, quoting Doe v. Columbia,

831 F.3d at 58.

       80.     The Hearing Officers failed to making clear the role of an advisor and whether or

not John Doe or his advisor could cross-examine witnesses and object to evidence and the

Hearing Officers’ failure for not questioning Jane Doe about her belated accusations. These

failures were part and parcel of Hamilton’s conducting the hearing not under the new Title IX

regulations that were in effect at the time of Jane Roe’s complaint, the investigation, the hearing

and the Hearing Officers’ decisions.

       81.     The anti-male gender biased nature of the sexual misconduct disciplinary

proceedings against John Doe was reflected in the failure throughout the process to examine the

motives and circumstances of Jane Roe. One primary reason for that dereliction was anti-male

gender bias.

       82.     The anti-male gender biased nature of the sexual misconduct disciplinary

proceedings against John Doe was reflected in a wildly disproportionate sanction. John Doe,

who had no prior disciplinary history, was expelled. The disproportionate sanction reflects a

gender biased belief that males need to be sanctioned severely for sexual misconduct. Gruber,

Anti-Rape Culture, 64 U. Kansas L. Rev. 1027, 1030 (2016).

       83.     The Hearing Officers and Appeal Board disregarded the totality of circumstances

surrounding John Doe’s alleged conduct, among other facts: John Doe had no other disciplinary

record; Jane Roe’s complaint did not involve rape; there was no evidence supporting a finding of



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the use of force; the alleged misconduct occurred as a single, isolated incident; no one other than

Jane Roe was affected by what happened the night in question and thus there was no detriment to

the health, safety and wellbeing of other members of the Hamilton community.

A.      Monetary and Injunctive Relief.

        84.     As a direct and proximate result of the above conduct, John Doe sustained

tremendous damages, including, without limitation, emotional distress, damages to reputation,

psychological damages, loss of educational and career opportunities, economic injuries and other

direct and consequential damages.

        85.     As a result of the foregoing, John Doe is entitled to damages in an amount to be

determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and disbursements

and to an injunction enjoining violations of the Title IX in the process of investigating and

adjudicating sexual misconduct complaints, ordering the ending of the expulsion, enjoining

Hamilton from preventing John Doe doing what is necessary to receive a bachelor’s degree from

Hamilton and granting clearing of John Doe’s transcript of the disciplinary record.

                                SECOND CAUSE OF ACTION:
                                 (State Law Breach of Contract)

        86.     John Doe repeats and re-alleges each and every allegation hereinabove as if fully

set forth herein.

        87.     Hamilton created an express and/or implied contract under New York law when

John Doe accepted an offer of admission to Hamilton and paid the tuition and fees.

        88.     The Introduction to Hamilton’s Gender-Based and Sexual Misconduct Policy

makes clear that it is intended to be interpreted and applied consistently with Title IX.

        89.     Hamilton’s Gender-Based and Sexual Misconduct Policy thus intends that

students have impartial investigators investigate the case, impartial hearing officers hear the case,

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and a fair and impartial disciplinary process in which it is the responsibility of Hamilton to prove

by a preponderance of the evidence that a violation has occurred before any sanctions are

imposed.     Hamilton breached its contract with John Doe when it failed to have impartial

investigators and hearing officers to conduct a fair and impartial process that treated John Does

and Jane Roes equally and when it failed to adhere to the preponderance of the evidence

standard, with presumption of innocence of the respondent, including by not using the proper

burden of proof standard, by effectively shifting the burden of proof to John Doe.

       90.      Based on the aforementioned facts and circumstances, Hamilton breached its

express and/or implied contract with John Doe because Hamilton breached and violated a

covenant of good faith and fair dealing implied in the agreement(s) with John Doe. Hamilton

failed its duty of good faith and fair dealing when it committed the procedural and substantive

errors complained of above, meted out a disproportionate sanction notwithstanding the flawed

process and found John Doe responsible despite the lack of evidence in support of Jane Roe’s

allegations of sexual misconduct.

       91.      John Doe is entitled to recover damages for Hamilton’s breach of the express

and/or implied contractual obligations described above. As a direct and proximate result of the

above conduct, John Doe sustained tremendous damages, including, without limitation,

emotional distress, damages to reputation, psychological damages, loss of educational and career

opportunities, economic injuries and other direct and consequential damages.

       92.      As a result of the foregoing, John Doe is entitled to damages in an amount to be

determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and disbursements.




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                                     THIRD CAUSE OF ACTION:
                                    (State Law Promissory Estoppel)
        93.     John Doe repeats and re-alleges each and every allegation hereinabove as if fully

set forth herein.

        94.     Hamilton’s various policies constitute representations and promises that Hamilton

should have reasonably expected to induce action or forbearance by John Doe.

        95.     Hamilton expected or should have expected John Doe to accept its offer of

admission, incur tuition and fees expenses, and choose not to attend other colleges based on its

express and implied promises that Hamilton would not tolerate, and John Doe would not suffer,

harassment by fellow students and would not deny John Doe his procedural rights should he be

accused of a violation of Hamilton Policies.

        96.     John Doe relied to his detriment on these express and implied promises and

representations made by Hamilton.

        97.     Based on the foregoing, Hamilton is liable to John Doe based on estoppel.

        98.     As a direct and proximate result of the above conduct, John Doe sustained

tremendous damages, including, without limitation, emotional distress, psychological damages,

loss of educational and athletic opportunities, economic injuries and other direct and

consequential damages.

                                        PRAYER FOR RELIEF

        WHEREFORE, for the foregoing reasons, John Doe demands judgment against

Hamilton as follows:

                (i)         on the first cause of action for violation of Title IX of the Education

        Amendments of 1972, a judgment against Hamilton awarding John Doe:

                      (a)      an injunction vacating the disciplinary findings and decision with
                               respect to John Doe, ordering the records at Hamilton be amended to

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                        reflect that finding of responsibility against John Doe is reversed or
                        withdrawn, ordering that the sanction of expulsion be reversed and the
                        disciplinary file containing the expulsion be expunged from all records
                        and transcripts, ordering clearing of John Doe’s transcript of the
                        disciplinary record, ordering John Doe’s undergraduate status be
                        immediately returned to in “Good Standing,” and any restrictions
                        imposed upon him removed, and enjoining Hamilton from preventing
                        John Doe doing what is necessary to receive a degree from Hamilton;
                        and

               (b)      damages in an amount to be determined at trial, including, without
                        limitation, damages to physical well-being, emotional and
                        psychological damages, damages to reputation, past and future
                        economic losses, loss of educational and athletic opportunities, and
                        loss of future career prospects, plus prejudgment interest, attorneys’
                        fees, expenses, costs and disbursements, and

        (ii)         on the second cause of action for state law breach of contract, a judgment

 against Hamilton awarding John Doe damages in an amount to be determined at trial,

 including, without limitation, damages to physical well-being, emotional and

 psychological damages, damages to reputation, past and future economic losses, loss of

 educational and athletic opportunities, and loss of future career prospects, plus

 prejudgment interest, attorneys’ fees, expenses, costs and disbursements;

        (iii)        on the third cause of action for state law promissory estoppel, a judgment

 against Hamilton awarding John Doe damages in an amount to be determined at trial,

 including, without limitation, damages to physical well-being, emotional and

 psychological damages, damages to reputation, past and future economic losses, loss of

 educational and athletic opportunities, and loss of future career prospects, plus

 prejudgment interest, attorneys’ fees, expenses, costs and disbursements; and

        (iv)         awarding John Doe such other and further relief as the Court deems just,

 equitable and proper.




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                                         JURY DEMAND

          Plaintiff John Doe demands a trial by jury of all issues presented herein that are triable by

a jury.

Dated: March 4, 2022
                                                Respectfully submitted,
                                                By: __/s/_Philip A. Byler ________
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